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AFFIDAVIT OF GREGORY J. ROHL
STATE OF MICHIGAN )
)ss.

COUNTY OF WAYNE )

NOW COMES the affiant, Gregory J. Rohl, first being duly sworn, deposes and states

that if called upon to testify has personal knowledge and is competent to testify to the following

facts:

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That the day prior to the Thanksgiving holiday 2020, Rohl was home preparing
Thanksgiving dinner as he was in quarantine having contracted the COVID virus some
weeks earlier.

That on that date at approximately 6:30 PM, Rohl was contacted by an associate who
asked Rohl if he would assist in litigation involving alleged election fraud in Michigan
which was being spearheaded by Sidney Powell and Lin Wood.

That Rohl advised that he was not political and did not really care who won. The
associate indicated that Rohl was in a position to help a team of attorneys who were
prepared to advance this cause,and that the filing deadline was midnight.

That Rohl was thereafter forwarded a copy of the already prepared proposed Complaint
with over 100 exhibits, the review of which took well over an hour; just prior to his
review, Rohl had contacted his Legal Secretary, Amanda, to see whether she would be
available to assist in the filing of the Complaint and exhibits on the Pacer network with
the Federal Court.

That Rohl was advised by team members during a conference call prior to fling that the
Plaintiffs were electors who felt duty-bound to raise the issue of possible election fraud in

Michigan. There had also been prior bi-partisan voiced concer regarding the reliability

 
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10.

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of Dominion ballot tabulators including Senators Warren and Klobuchar and that Texas
had banned them.

That Rohl’s review of the Complaint as well as the significant number of exhibits which
were attached left him with the distinct impression that if true, there was some form of
corruption of the electoral process in Michigan by either internal or external forces that
should be reviewed by a Court of competent jurisdiction; Rohl further found the
affidavits compelling and the Complaint sound. Consequently, Rohl agreed to be local
counsel and advised his secretary to download, in conjunction with Counsel from New
York, the already prepared Complaint and Exhibits which had been forwarded to him for
filing with the Court which was finalized at approximately 11:56 pm. Rohl filed the
Complaint as provided making no additions, deletions or corrections.

That in further discussion with the team, Rohl was to serve as a conduit for pleadings and
essentially “hold the fort” until Sidney Powell’s Pro Hac Vice application was accepted
by the Court; Rohl provided his services on a pro bono basis.

That the following day, media attention was significant in pointing out various spelling
errors and formatting issues which were corrected by a supplemental pleading.

That Rohl’s limited involvement was seriously further undermined once Judge Parker
saw fit to waive oral argument and otherwise not order any evidentiary hearings.

That once Judge Parker saw fit to dismiss the complaint, Rohl was advised his
involvement was no longer necessary and that local counsel for appellate purposes would
be brought in,

That Stephanie Lambert Junttila made contact with Rohl and advised that she was local

counsel for purposes of the appeal and Rohl wished her good luck.

 
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13.

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. That at the time the Rule 11 Sanction Motion was filed, Rohl contacted New York

counsel and was advised that an extension of time within which to file a response was
being sought and that no other Court had prior entertained such a Motion on similar
complaint filings across the Country.

That an extension, after some procedural difficulties, was secured. Thereafter Ms.
Lambert Junttila surprisingly advised Rohl that she was not the one preparing the
response to the Rule 11 Sanction Motion, and that it was being provided for review by
Sidney Powell’s team.

That Rohl was not afforded an opportunity to review and/or comment and/or be involved
in either the preparation or the filing of the Motion Response filed on 1/19/21, which

required supplements.

. That at no time did Rohl attempt to delay, hinder or obstruct the process; Rohl’s only

goal was to secure Court review of the alleged election fraud issues raised in the

Complaint.

Further affiant sayeth not.

Dated:

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Gregory J\Bohl

Subscribed and sworn to before me this

Yan

day of ,E@bruacu , 2021

 

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Notary Public, Wayne WAM iy

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County, Michigan
My Commission Expires: UY -4- 107 Y
